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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

GENEVA REED-VEAL, Individually and as Mother

and Personal Representative of the Estate of SANDRA
BLAND, deceased.

Plaintiff,

v, No. 4: 15-cv-02232

BRIAN ENCINIA, Individually and as an agent ty Demand —

and/or employee of TEXAS DEPARTMENT OF _ 1Udge David Hittner |
Magistrate Judge Stephen Smith

PUBLIC SAFETY; TEXAS DEPARTMENT OF

PUBLIC SAFETY; ELSA MAGNUS, Individually

and as an agent and/or employee of WALLER

COUNTY SHERIFF'S OFFICE; OSCAR

PRUDENTE, Individually and as an agent and/or

employee of WALLER COUNTY SHERIFF'S

OFFICE; and WALLER COUNTY,

Defendants.

PLAINTIFFS' REQUEST FOR PRODUCTION TO DEFENDANT, BRIAN ENCINIA.

NOW COMES Plaintiff, GENEVA REED-VEAL, Individually and as
Mother and Personal Representative of the Estate of SANDRA BLAND,
deceased, and pursuant to Federal Rules of Civil Procedure Rule
33 and 34, submits the following First Requests for Production of
Decuments and Things to Defendant Brian Encinia to be answered in
writing, under oath, and within 30 days of service.

INTRODUCTION, INSTRUCTIONS, AND
DEFINITIONS

The information and documents sought must be provided
irrespective of whether the same is secured by you, your
representative, agent, attorney or any other person from whom you
can obtain said information and said source shall be competent to
testify as to the facts stated.

These Interrogatories and Requests for Production carry a
continued duty to supplement your responses should Defendant
either directly or indirectly obtains additional or different
information from that upon which Defendant's responses are based
and said duty shall run from the time this discovery is served on
Defendant until the completion of the trial in this matter.
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When the Interrogatories ask you to identify an individual,

please state his or her name, last known home address and
telephone number, and job title and date of hire (if an
employee), in addition to any other information requested.

A.

These Requests for Production of Documents and Things seek all
information available to Defendant, their attorneys or agents,
and any other person acting on their behalf.

As used herein, "document" or "record" is used in its broadest
sense to mean every writing or recording of every type
described in Rule 1001 of the Federal Rules of Evidence, and
any written, typed, printed, recorded or graphic matter,
however produced or reproduced, of any kind and description,
whether sent, received, or neither, and all copies which
differ in any way from the original (whether by stamped
received, notation, indication of copy sent or received, or
otherwise) regardless of whether designated confidential,
privileged or otherwise, and whether an original, master,
duplicate or copy, including, but not limited to, papers,
notes, account statements or summaries, ledgers, pamphlets,

periodicals, books, advertisements, objects, letters,
memoranda, notes or notations of conversations, contracts,
agreements, drawings, telegraphs, tape recordings,
communications, including interoffice and intra-office
memoranda, delivery tickets, bills of lading, invoices,
quotations, claims documents, reports, records, studies, work
sheets, working papers, corporate records, minutes of

meetings, circulars, bulletins, notebooks, bank deposit slips,
bank checks, cancelled checks, check stubs, diaries, diary
entries, appointment books, desk calendars, data processing
cards and/or tapes, computer software, photographs,
videotapes, transcriptions or sound recordings of any tape of
personal or telephone conversations, interviews, negotiations,
meetings or conferences, or any other things similar to any of
the foregoing.

The word "communication" means any words heard, spoken,
written or read, regardless of whether designated
confidential, privileged or otherwise, and including without
limitation words spoken or heard at any meeting, discussion
interview, encounter, conference, speech, conversation or
other similar occurrence and words written or read from any
document (s) as described above.
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1. All statements (oral, written, or transcribed, signed or
unsigned) by parties to this action given to some person or entity
other than their attorney.

2. All statements (oral, written, or transcribed, Signed or

unsigned) from any person who:

a) Witnessed or claims to have witnessed the occurrences
specified in the Plaintiff's Complaint;

b) Was present at the scene of the occurrences;

c) Has or claims to have knowledge of any of the facts of
the occurrences specified in the Plaintiff's Complaint;

d) Has or claims to have knowledge of the condition of the
Plaintiff or;

€) Has or claims to have knowledge of the locations
specified in the Plaintiff's Complaint.

3. All photographs, slides, motion pictures, videotapes, video
footage, electronic media, dash cam videos, media, media coverage
or other photographic, electronic and/or computer reproductions
relating to and beginning in the 60 minutes prior to the July 10,
2015 arrest of Sandra Bland up to and through 11:59 pm on July 14,
2015 of any physical objects or persons involved in the occurrences
described in Plaintiff's Complaint, the scene of the occurrence,
the events themselves, the traffic stop, arrest, detention,
booking, questioning, and jailing of Ms. Sandra Bland as well as
any and all jail cells that Ms. Bland was placed in while in the

Waller County Jail.
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4. All documents pertaining to the physical or mental condition
of the Sandra Bland prior and subsequent to her July 10,

2015 arrest.

5. Complete, unedited, and unabridged copies of any and all
medical reports and documents pertaining to the Sandra Bland, and
purporting to diagnose, analyze and/or otherwise evaluate any and
all injuries allegedly sustained by the Plaintiff in the occurrence
specified in the Plaintiff's Complaint.

6. Complete, unedited, and unabridged copies of any and all
medical reports and documents pertaining to the Sandra Bland, and
purporting to diagnose, analyze and/or otherwise evaluate Ms.
Bland's emotional, psychological and/or mental state at all times
beginning from 60 minutes prior to her July 10, 2015 arrest through
and including 11:59 pm on July 14, 2015.

7. Complete unedited, and unabridged copies of any and all
police, investigation reports and/or incident reports, including
any supplementary or reconstruction reports, photos, and computer
and/or electronic documents prepared in conjunction with the
occurrences set forth in the Plaintiff's Complaint.

8. Complete unedited, and unabridged copies of any and all
jail and dash cam videos relating to any aspect of Sandra Bland's
arrest and subsequent detention and incarceration at the Waller
County Jail beginning 60 minutes prior to Ms. Bland's June 10, 2015

traffic stop through and including 11:59 pm on July 14, 2015.
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9:, Any and all of Sandra Bland's personal articles she had
from the time that she was subject to the July 10, 2015 traffic
stop including but not limited to Ms. Bland's phone, clothing,
medications, accessories, jewelry, paperwork, driver's license and
other personal articles.

10. Any and all radio and/or dispatch communications,
electronic recordings and/or tapes, as well as all walkie-talkie,
and other electronic or voice communications and dispatch
information relating to Sandra Bland between 7/10/15 - 7/14/15.

11. Full and complete copies of all police and/or
incident reports as well as all supplemental reports and other
documents that in any way reference Sandra Bland or that were
generated due to police involvement or interaction with Sandra
Bland on and between 7/10/15-7/14/15.

12. All supplementary or reconstruction reports relating to
Sandra Bland as well as all traffic citations and/or traffic

warnings issued to or intended for Sandra Bland on and between July

10, 2015 through July 14, 2015.

13. Any and all toxicology report (s) relating to Sandra Bland
in their full, complete and final state.

14. The full, complete, unedited, and unabridged copies of
any and all 911 communications, any and all Department of Public
Transportation communications and/or police dispatch
communications relating to Sandra Bland beginning 60 minutes prior
to Sandra Bland's traffic stop on July 10, 2015 up to and through

the present.
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LS. Any and all employees logs and/or documents reflecting
who was present at any time that Sandra Bland was in and at the
Waller County Jail on July 10, 2015 at any point that Sandra Bland
was present on said date at said location.

16, Any and all emergency medical service run sheets or
reports which, in any way, relate to Sandra Bland.

17. A copy of any and all traffic Warnings, traffic tickets,
and criminal charges issued to Sandra Bland at on and through July
10, 2015 through July 14, 2015.

18. Any and all personnel files, employment files, and/or
disciplinary files relating to Brian Encinia.

19. All police and jail training manuals, videos and
protocols in effect on July 10, 2015 that were available to Brian
Encinia as a DPS Trooper for training and/or review.

20. Immediate personal access, for purposes of examination and
review, to all items in the jail cell where and when Sandra Bland
was found non-responsive inclUding but not limited to the ligature
alleged to have been used in Ms. Bland's death, bible, trash, pill

cup, trash bags, trash can, books, cloths, mattresses and sheets.

21. Any and all DNA testing done on any of the items or
objects present in the cell that Sandra Bland was found non-
responsive in including but not limited to the ligature alleged to
have been used in Ms. Bland's death, bible, trash, pill cup, trash
bags, trash can, books, cloths, mattresses and sheets,

22. Any and all correspondence and/or communications with Joe

Booker by any and all jail staff and/or police officer.
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23. All documents, articles, papers and textbooks you intend
to use during the trial of this cause.

24. All rules, regulations, bylaws, guidelines of any
public authority, inspecting or reviewing authority or other
private body, which you intend to use during the trial of this
cause.

25. All reports or documents which may contain the
opinions, theories, conclusions, or estimates regarding the
physical, psychological, mental and emotional condition of Sandra
Bland both prior to and subsequent to the incidents in question or
the matters in question.

26. All reports or documents which may contain the
opinions, theories, conclusions, or estimates regarding the
occurrences in question.

27. A certified copy of all liability insurance policies and
declaration pages that covered the Defendant for the acts or
omissions, as alleged in the Plaintiff's Complaint including
supplemental, secondary and/or umbrella. policies. This further
includes any and all insurance which covers this incident including
but limited to all declaration pages. Further, a certified copy of
all coverage declaration forms for all policies in effect.

28. All videotape footage taken by any investigator,

private detective or any other agent or servant of the Defendant or

the Defendant's insurance carrier of the Plaintiff at any time.
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29. Any bills, notes, memoranda, correspondence or other
records or documentation of time spent monitoring the Plaintiff and
notes as to observations made by your investigator (s), private
detective (s) or any other agent(s) or servant(s) of the Defendant
or the Defendant's insurance carrier of the Plaintiff.

30. Each and every document, record, report, writing
memorandum, photo, electronic media, electronic documentation,
physical object and the like revealed or referenced in Defendant's
Answers to interrogatories.

31. The full and complete names, addresses and phone numbers
of each and every person having knowledge of any facts which
involve, surround, or come out of the incidents giving rise to this
cause of action.

32. All documents concerning testimony of witnesses at
previous instances, proceedings, hearings and/or trials concerning
the occurrences giving rise to this litigation.

33. All General Orders jail protocols, policies, practices
and procedure in force and effect on July 10, 2015 through and
including 11:59 pm on July 14, 2015 that created, codified,
established, governed, and/or instituted the rules, policies,
procedures and protocols relating to booking inmates as well as
medically, physically and mentally assessing inmates at the Waller

County Jail.
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34. All photos taken of Sandra Bland before or after her
death including but not limited to photos taken in and during her
post mortem exam.

35. This request pertains to Autopsy Report Case number OC
15-030 dated and done on July 14, 2015 on the body of Sandra Bland
done by Assistant Medical Examiner Sara N. Doyle, M.D.:

Produce for in-person examination all of the following: all
photos taken in and associated with the aforementioned autopsy, all
specimens harvested from Sandra Bland's body including but not
limited to her hyoid bone, upper larynx and toxicology specimens.
The full complete toxicology report, all ligatures or other items
alleged to have been used to inflict or self-inflict injury or harm
on Sandra Bland. All cloths and personal effects found on Sandra
Bland's body at the time of her presentation to the Harris County
Institute of Forensic Science. All emergency medical services,
paramedic, justice of the peace or other medical reports relating
to Sandra Bland in your possession at the time that Ms. Bland was
presented to you up to and through September 19, 2015. All things
examined during the aforementioned autopsy as well as all things
not examined but that were present during said exam. All notes
taken and/or created by all medical personnel and any other persons
present at and during said autopsy. The intake sheet and/or form
regarding Sandra Bland from Harris County institute of Forensic
Science investigators. All body temperature readings of Ms. Bland's

body along with the times and dates said temperatures were taken
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and by whom as well as all information indicating and/or revealing
when the Harris County Institute of Forensic Science was contacted
regarding Sandra Bland and when Ms. Bland's body was delivered and
signed in. All information, notes, records and communications
regarding Sandra Bland's physical condition when she was first
presented to the Harris County Institute of Forensic Science for
exam. All things retained at the post mortem examination (a full,
complete list of said things if they are not in your possession and
who now has said items). All gastric content samples and all
information relating to if specimens harvested from Sandra Bland's
body were tested and if so where were said tests performed.
Finally, a full and complete list of any and all requesters of any
of the aforementioned information, documentation and/or items
related to Sandra Bland and her autopsy.

36. This request pertains to any and all involvement,
interaction and/or examination that Justice of the Peace, Charles
Karisch, had with or performed on Ms. Sandra Bland, including but
not limited to Autopsy Report Case number OC 15-030 dated and done
on July 14, 2015 on the body of Sandra Bland done by Assistant
Medical Examiner Sara N. Doyle, M.D.:

Produce for in-person examination all of the following: all
photos taken in and associated with the aforementioned autopsy, all
specimens harvested from Sandra Bland's body including but not
limited to her hyoid bone, upper larynx and toxicology specimens.
The full complete toxicology report, all ligatures or other items

alleged to have been used to inflict or self-inflict injury or harm
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on Sandra Bland. All cloths and personal effects found on Sandra
Bland's body at the time of her presentation to the Harris County
Institute of Forensic Science. All emergency medical services,
Paramedic, justice of the peace or other medical reports relating
to Sandra Bland in your possession at the time that Ms. Bland was
presented to you up to and through September 19, 2015. All things
examined during the aforementioned autopsy as well as all things
not examined but that were present during said exam. All notes
taken and/or created by all medical personnel and any other persons
Present at and during said autopsy. The intake sheet and/or form
regarding Sandra Bland from Harris County institute of Forensic
Science investigators. All body temperature readings of Ms. Bland's
body along with the times and dates said temperatures were taken
and by whom as well as all information indicating and/or revealing
when the Harris County Institute of Forensic Science was contacted
regarding Sandra Bland and when Ms. Bland's body was delivered and
signed in. All information, notes, records and communications
regarding Sandra Bland's physical condition when she was first
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complete list of said things if they are not in your possession and
who now has said items). All gastric content samples and all
information relating to if specimens harvested from Sandra Bland's

body were tested and if so where were said tests performed.
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Finally. A full and complete list of any and all requesters of any
of the aforementioned information, documentation and/or items
related to Sandra Bland and her autopsy.

37. A full and complete privilege log itemizing each and every
Statement (whether oral or written) document, item and/or tangible
thing that Defendant claims to be privileged pursuant to attorney-
client privilege or work.

38. Any and all radio and/or dispatch communications,
electronic recordings and/or tapes, as well as all walkie-
talkie, and other electronic or voice communications and dispatch
information relating to Sandra Bland between 7/10/15 - 7/14/15.

39. Full and complete copies of all police and/or incident
reports as well as all supplemental reports and other documents
that in any way reference Sandra Bland or that were generated due
to police involvement or interaction with Sandra Bland on and
between 7/10/15-7/14/15.

40. All supplementary or reconstruction reports relating to
Sandra Bland as well as all traffic citations and/or traffic
warnings issued to or intended for Sandra Bland on and between
July 10, 2015 through July 14, 2015.

41. All original video of Waller County Jail from 7/10/15 -
7/14/15. That was collected by Shane Ellison from the Federal
Bureau of Investigations on or about 9/17/15.

42. Any and all original computer towers & DVR Housing

Waller County Jail Original footage from 7/10/15 - 7/14/15 that
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was collected by Shane

Ellison from’ the

Investigations on or about 9/15/15.

Federal Bureau of

43. The Texas Ranger Report relating to Sandra Bland for any

and all photographs that in anyway relate to Sandra Bland.

44. Any and all evidence information or indications which

reveal or show that Sandra Bland was provided medical at any time

on or between 7/10/15 - 7/14/15, not including her Autopsy.

It is further requested that the parties in compliance with

this request for production

Shall furnish an affidavit stating

whether the production is complete in accordance with this request.

/sl Cannon Lambert
Counsel for Plaintiff
Cannon Lambert

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Federal Bar # 6237503
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Respectfully submitted:

By:

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

UNITED STATES DISTRICT COURT
for the
Southern District of Texas

GENEVA REED-VEAL, et.al,
Plaintiff

¥.

 

Civil Action No, 4:15-cv-02232

BRIAN ENCINIA, et al.,

Defendant

Se ee ee

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TEXAS DEPARTMENT OF PUBLIC SAFETY; VIA FAX: 512,495,9139
To: ATTN: ASSISTNAT ATTORNEY GENERAL - SETH BYRON DENNIS
P.O. BOX 12548, CAPITOL STATION, AUSTIN, TEXAS 78711

- - (Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: PLEASE SEE RIDER ATTACHED TO SUBPOENA

Place: Karchmar & Lambert, P.C. 211 W. Wacker Dr, “Date and Time:

Ste#1400, Chicago IL. 60606 /- o- /, bo

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

' Place: "Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _ a2 5~ (o

  

 

CLERK OF COURT
OR
Signature of Clerk or | Deputy Clerk Ys Attorney 's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) | PLAINTIFF _
GENEVA REED-VEAL, ET. AL., , who issues or requests this subpoena, are:

Cannon D. Lambert, Sr., 211 W. Wacker, ste#1400, Chicago IL. 60606; cannon@karchmarlambert.com, Ph# 312-523-4144

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed, Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No, 4:15-cv-02232

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

© I served the subpoena by delivering a copy to the named person as follows:

ON (date) or

C1 I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

 

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party,

(C) Specifving Conditions as an Alternative, In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated,

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013),
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SUBPOENA RIDER

Please tender and release to the Law Offices of Karchmar & Lambert, P.C., 211 W.
Wacker, Ste. 1400, Chicago Illinois, 60606 the following:

Any and all radio and/or dispatch communications, electronic recordings and/or tapes,
as well as all walkie-talkie, and other electronic or voice communications and dispatch
information relating to Sandra Bland between 7/10/15 - 7/14/15. Additionally,
please tender full and complete copies of all police and/or incident reports as well as all
supplemental reports and other documents that in any way reference Sandra Bland or
that were generated due to police involvement or interaction with Sandra Bland on and
between 7/10/15-7/14/15. Further, please tender all supplementary or reconstruction
reports relating to Sandra Bland as well as all traffic citations and/or traffic warnings
issued to or intended for Sandra Bland on and between July 10, 2015 through July 14,
2015.

Additionally, All original video of Waller County Jail from 7/10/15 - 7/14/15. Any and
all original computer towers & DVR Housing Waller County Jail Original footage from 7/10/15
- 7/14/15 that was collected by Shane Ellison from the Federal Bureau of Investigation on or
about 9-17-15. The Texas Ranger Report relating to Sandra Bland for any & all photographs that
in anyway relate to Sandra Bland/ Any evidence indicating that Sandra Bland was provided
medical at any time on or between 7/10/15 - 7/14/15.
